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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 CINAMAKER, INC.,

 Plaintiff,                                  Civil Action No. 1:23cv5542-TWT

 v.

 GARY BAKER,

 Defendant.

      PLAINTIFF’S MOTION TO EXTEND DEADLINE FOR SERVICE

        On December 4, 2023, Plaintiff Cinamaker, Inc. (“Cinamaker”) filed its

complaint for theft and declaratory judgment (“Complaint”) against Defendant Gary

Baker. (See Doc. 1.) Cinamaker attempted to serve Mr. Baker and his attorney on

January 25, 2024. Mr. Baker’s attorney alleges that Mr. Baker was not properly

served. Mr. Baker is aware of the Complaint, as his attorney and Cinamaker’s

attorney have communicated several times about the Complaint filed in this Court.

        In fact, after Cinamaker filed its complaint, Mr. Baker filed a complaint

against Cinamaker in California state court, to which Cinamaker then removed to

the United States District Court of the Central District of California. (See Exhibit A

– Motion to Remove). After removing the suit, Cinamaker then filed its motion to

dismiss, or in the alternative, transfer to the Northern District of Georgia. (See

Exhibit B – Motion to Dismiss).



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        On March 1, 2024, attorney for Cinamaker, Joseph Lavigne, requested that

Mr. Baker waive service since his attorney took the position that service may not

have been proper. In response, Mr. Baker’s attorney stated that he would talk to his

client about waiving service. On March 4, 2024, Mr. Baker, through his attorney,

agreed to waive service. A waiver of service was sent to Mr. Baker and his attorney

by email and mail, however, Mr. Baker has yet to return the waiver of service. On

March 11, 2024, counsel for Cinamaker emailed Mr. Baker’s attorney to request the

return of the completed wavier of service form, however counsel has yet to respond

as of the date of this Motion.

        Under the Federal Rules of Civil Procedure Rule 4, Cinamaker has 90 days to

serve Mr. Baker with its Complaint. Due to the delayed arrival of Mr. Baker’s waiver

of service, Cinamaker has been unable to file its proof of service with this Court.

The deadline to serve Mr. Baker was March 4, 2024. For this reason, Cinamaker

requests that this Court grant an additional 60 days from the deadline pursuant to

Federal Rule of Civil Procedure 4(m) to properly serve and file proof of service on

Mr. Baker by May 3, 2024.

                                     CONCLUSION

        Plaintiff Cinamaker, Inc. respectfully requests this Court GRANT its Motion

to Extend Deadline of Service for an additional 60 days in order for Plaintiff and

defendant Gary Baker to reach an agreement regarding waiver of service.



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        Respectfully submitted, March 13, 2023.

                                               /s/ David J. Forestner

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                  CERTIFICATE OF COMPLIANCE WITH L.R. 7.1D
        I hereby certify that the foregoing pleading was prepared with the Times New

Roman font in 14-point type that conforms with Northern District of Georgia Local

Rule 5.1C.

                                               /s/ David J. Forestner

                                               DAVID J. FORESTNER
                                               Georgia Bar No. 269177




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